                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                           CASE NO. 5:22-CV-095-KDB-DCK

 GLENN S. MILLSAPS, JR.,                        )
                                                )
                 Plaintiff,                     )                  ORDER
                                                )
    v.                                          )
                                                )
 DANNY LILES and RON HILLARD,                   )
                                                )
                 Defendants.                    )
                                                )


         THIS MATTER IS BEFORE THE COURT on pro se Plaintiff’s “Amended Complaint”

(Document No. 116), “Plaintiff’s Motion To Expand Page Limitation For Amended Complaint”

(Document No. 117), and “…Motion to Stay Expert Disclosure Deadline Pending Disclosure Of

DVR System Model And Serial Number” (Document No. 118) filed February 6, 2025. These

motions have been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b),

and immediate review is appropriate.

         Having carefully considered the motions and the record, and following consultation with

the Honorable Kenneth D. Bell’s chambers, the undersigned will strike the Amended Complaint

(Document No. 116) and deny the pending motions.

         According to the “Pretrial Order And Case Management Plan” (Document No. 111)

Plaintiff was allowed to file an amended pleading by January 24, 2025, and that date was later

extended to February 3, 2025. See (Document No. 115). Plaintiff’s “Amended Complaint”

(Document No. 116) was not timely filed; moreover, the Court had expressly denied Plaintiff’s

request to amend the Complaint to re-assert claims against previously dismissed parties.

(Document No. 82, pp. 12-14); see also (Document No. 104). Judge Bell specifically ordered that




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“only the assault claim against Mr. Liles (Claim Seven) will proceed as will the unlawful

arrest and excessive force claims (Claim Two and Four) against Deputy Hillard.” (Document

No. 82, p. 13) (emphasis added). Based on the foregoing, Plaintiff’s Amended Complaint must be

limited to the claims against Danny Liles and Ron Hillard that Judge Bell has allowed. Id.

       Since the Court will strike the “Amended Complaint” (Document No. 116), “Plaintiff’s

Motion To Expand Page Limitation For Amended Complaint” (Document No. 117) is now moot.

Plaintiff’s revised Amended Complaint, limited to two (2) Defendants and three (3) claims should

be significantly shorter than Document No. 116.

       Finally, instead of issuing a stay of the expert report deadline, the undersigned will sua

sponte allow an extension of time for expert reports. Further extensions are unlikely to be allowed.

       IT IS, THEREFORE, ORDERED that “Amended Complaint” (Document No. 116) is

STRICKEN.       Plaintiff shall file an Amended Complaint, as directed herein, on or before

February 18, 2025.

       IT IS FURTHER ORDERED that “Plaintiff’s Motion To Expand Page Limitation For

Amended Complaint” (Document No. 117) is DENIED AS MOOT.

       IT IS FURTHER ORDERED that “…Motion to Stay Expert Disclosure Deadline

Pending Disclosure Of DVR System Model And Serial Number” (Document No. 118) is

DENIED. The Expert Report deadlines are revised as follows: Plaintiff’s Expert Report(s) –

March 7, 2025; Defendants’ Expert Report(s) – April 4, 2025.

       SO ORDERED.
                                  Signed: February 7, 2025




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